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8                          UNITED STATES DISTRICT COURT
9                        SOUTHERN DISTRICT OF CALIFORNIA
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11    STRIKE 3 HOLDINGS, LLC                     Case No.: 20cv67-LAB (LL)
12                                Plaintiff,
                                                 ORDER OF DISMISSAL
13    v.
14    JOHN DOE
15                             Defendant.
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17         Plaintiff has filed a notice of voluntary dismissal without prejudice. (Docket
18   no. 20.) Although Defendant has appeared, he has not filed an answer or a motion
19   for summary judgment.
20         Pursuant to Fed. R. Civ. P. 41(a), this action is DISMISSED WITHOUT
21   PREJUDICE.
22
23         IT IS SO ORDERED.
24   Dated: August 3, 2020
25
26                                             Honorable Larry Alan Burns
                                               Chief United States District Judge
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                                                                                    20cv67
